                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )      Case No. 06-0408-26-CR-W-GAF
                                             )
JAMES R. PETERSEN,                           )
                                             )
                      Defendant.             )

                                            ORDER

       Now pending before the Court is Plaintiff’s Appeal of Magistrate Judge’s Ruling on

Motion for Detention. The Court having fully considered said appeal and the record herein, it is

found that there is no error or abuse of discretion in United States Magistrate Judge Sarah W.

Hays’ ruling denying the Government’s Motion to Deny Detention. Accordingly, it is

       ORDERED that Plaintiff’s appeal is denied.

                                                    s/ Gary A. Fenner
                                                    GARY A. FENNER, JUDGE
                                                    UNITED STATES DISTRICT COURT

DATED: October 3, 2007




       Case 4:06-cr-00408-GAF         Document 472        Filed 10/03/07      Page 1 of 1
